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                          CAUSE NO. 12-12-00021-CR
                           IN THE COURT OF APPEALS
                      TWELFTH COURT OF APPEALS DISTRICT
                                TYLER, TEXAS

Howard Mark Huffman,   }     APPEALED FROM 3RD DISTRICT COURT
APPELLANT

V.                           }    IN AND FOR

The State of Texas,          }    ANDERSON COUNTY, TEXAS
APPELLEE


                                    order

      Appellant is represented by Mr.  Paul  Guillotte,  appointed  counsel.
On September 27, 2012, counsel was granted an  extension  of  time  to  file
appellant's brief  to  November  21,  2012  and  notified  that  no  further
extensions would be entertained by the Court.
      Pursuant to Tex. R. App. P. 38.8(b)(3), it is ORDERED  that  Honorable
Mark A. Calhoon, Judge of the 3rd District Court of Anderson County,  Texas,
shall immediately conduct a hearing to determine (1) whether  the  appellant
still desires  to  prosecute  his  appeal;  (2)  whether  the  appellant  is
indigent and either needs counsel  appointed,  or  appellant's  counsel  has
abandoned the appeal; or (3) if the appellant is  not  indigent,  whether  a
brief has not been completed because retained counsel has  either  abandoned
the appeal or because appellant has failed to  make  necessary  arrangements
for filing a brief; and (4) when appellant's counsel  anticipates  that  the
appellant's brief, if a brief is to be filed, will be completed.
      It is FURTHER ORDERED  that  the  judge  shall  (1)  make  appropriate
findings as to the above set forth issues and (2)  cause  a  record  of  the
proceedings to be prepared.
      It is ADDITIONALLY ORDERED that once  findings  are  made  as  to  the
above set forth issues, if appellant is indigent, the judge shall  (1)  take
such  measures  as  may  be  necessary  to  assure   appellant's   effective
representation, which may include the appointment of  new  counsel  and  (2)
make recommendations to this Court regarding a proper filing  date  for  the
appellant's brief.
      It is FINALLY ORDERED that the supplemental clerk's record  (including
any orders and findings) and the reporter's record of said hearing be  filed
with the Clerk of this Court on or before January 10, 2013.
      WITNESS the Honorable  James  T.  Worthen,  Chief  Justice,  Court  of
Appeals, 12th Court of Appeals District, Tyler, Texas.
      GIVEN UNDER MY HAND AND SEAL OF OFFICE at Tyler, Texas this  11th  day
of December 2012, A.D.
                                     Respectfully yours,


                                     Cathy S. Lusk, CLERK




                                     By: ______________________________
                                            Katrina McClenny, Chief Deputy
                                     Clerk
